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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

___________________________________________
LAUREN GREENE                               )
                        Plaintiff,          )
                                            )
v.                                          )
                                            )
THE OFFICE OF REPRESENTATIVE                )                 Case No. 1:14-cv-02110 (RC)
BLAKE FARENTHOLD                            )
                                            )
                        Defendant.          )
___________________________________________ )


                           JOINT STIPULATION OF DISMISSAL

IT IS HEREBY STIPULATED, by and between the Parties, that pursuant to the agreement of

the Parties, this action shall be dismissed with prejudice pursuant to Rule 41(a)(1)(A)(ii) of the

Federal Rules of Civil Procedure, each party to bear its own costs and fees.



                                              Respectfully submitted,

                                              ALDERMAN, DEVORSETZ & HORA, PLLC

                                              By:______________/s/__________________
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Signatures continued on following page
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Dated: November 18, 2015




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